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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                               AT MIAMI DIVISION

                       CASE NO. 23-23987-CIV-ALTONAGA/Damian

   MARAH WEST,

          Plaintiff,

   CONVERGENT OUTSOURCING, INC.

          Defendant.
                                                 /

  DEFENDANT, CONVERGENT OUTSOURCING, INC.’S MOTION TO DISMISS

         Defendant, Convergent Outsourcing Inc. (“Convergent”), through counsel and

  pursuant to Federal Rule of Civil Procedure 12(b)(6), submits this Motion to Dismiss for

  failure to state a claim (the “Motion”), and in support thereof states:

                                    I.      INTRODUCTION

         Plaintiff, Marah West (“Plaintiff”), alleges Convergent violated § 1681b(f) of the

  Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq., by obtaining her consumer

  report without a permissible purpose. However, a debt collector is permitted to make a

  credit report inquiry for the permissible purpose of collecting an account. Accordingly,

  Plaintiff has failed to state a claim under the FCRA, and the Court should dismiss her

  Complaint with prejudice.

                              II.    FACTS AND BACKGROUND

         On October 19, 2023, Plaintiff filed the Complaint. Doc. 1. Plaintiff alleges

  Convergent, a debt collector, violated § 1681b(f) of the FCRA by obtaining her Experian
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  consumer report without a permissible purpose. Id. at ¶¶ 6, 10, 27(a). Specifically, Plaintiff

  alleges she reviewed her Experian consumer report on or about May 26, 2023 and observed

  Convergent’s December 14, 2022 unauthorized inquiry. Id. at ¶¶ 8–11. Convergent now

  files the instant Motion to Dismiss for failure to state a claim.

                                  III.   LAW AND ARGUMENT

         A.      Legal Standard

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft v. Iqbal,

  556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2008)).

  “Factual allegations must be enough to raise a right to relief above the speculative level.”

  Twombly, 550 U.S. at 556. A claim is facially plausible when the plaintiff has pled facts

  that allow the court to “draw a reasonable inference that the defendant is liable for the

  misconduct alleged.” Id. at 570. On a motion to dismiss, asserted claims are liberally

  construed in favor of the claimant, and all facts pleaded are taken as true. Leatherman v.

  Tarrant Cnty. Narcotics Intel. & Coordination Unit, 507 U.S. 163, 164 (1993); see also

  Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322–23 (2007). However,

  although required to accept all “well-pleaded facts” as true, a court is not required to accept

  legal conclusions as true. Iqbal, 556 U.S. at 677–78. “While legal conclusions can provide

  the framework of a complaint, they must be supported by factual allegations.” Id. at 679.

  Similarly, “[t]hreadbare recitals of the elements of a cause of action, supported by mere

  conclusory statements” will not suffice. Id. at 678.




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         B.     Plaintiff fails to state a claim under the FCRA.

         Under § 1681b(f), a person shall not use or obtain a consumer report unless it is

  “obtained for a purpose for which the consumer report is authorized to be furnished under

  [§ 1681b].” 15 U.S.C. § 1681(f). However, a person is permitted to obtain a consumer

  report if the person “intends to use the information in connection with a credit transaction

  involving the consumer on whom the information is to be furnished and involving the

  extension of credit to, or review or collection of an account of, the consumer…” 15 U.S.C.

  § 1681b(a)(3)(A) (emphasis added).

         Plaintiff alleges Convergent, a debt collector, violated § 1681b(f) of the FCRA by

  obtaining her consumer report without having a permissible purpose. Doc. 1 at ¶ 27(a).

  However, this Court and others throughout the country have repeatedly confirmed a debt

  collector is permitted to make a credit report inquiry for the permissible purpose of

  collection of an account under § 1681b(a)(3)(A). See, e.g., Little v. Asset Acceptance, LLC,

  2013 WL 12080760, *4 (S.D. Fla. Apr. 9, 2013) (court expressly cited § 1681b(a)(3)(A)

  and ruled a debt collector “acted with a permissible purpose under the FCRA” when it

  obtained a consumer’s credit report to collect a debt); see also Rumbough v. Experian

  Information Solutions, Inc., 626 Fed.Appx. 224, 226 (11th Cir. 2015) (debt collection “is

  a permissible use for consumer reports” while citing § 1681b(a)(3)(A)); Foote v.

  Continental Service Group, 2018 WL 3008880, *2 (M.D. Fla. Jun. 16, 2018) (“the FCRA

  allows a debt collector to access a consumer’s credit report to review a creditor’s account

  to collect a debt.”); Hinkle v. CBE Group, 2012 WL 681468, *3 (S.D. Ga. Feb. 3, 2012)

  (“one of the ‘permissible purposes’ for obtaining a consumer report under


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  [§1681b(a)(3)(A)] would permit a collection agency retained by a creditor to collect on an

  account of the consumer”); Korotki v. Attorney Services Corp. Inc., 931 F.Supp. 1269,

  1277 (D. Md. Jun. 12, 1996) (FCRA “authorizes a person attempting to collect an account

  of a consumer to obtain the consumer’s credit report”).

         In Little, as here, a consumer alleged a debt collector violated the FRCA when it

  accessed her credit report. Little, 2013 WL 12080760, at *1. The consumer argued the debt

  collector had no permission to access her consumer report, had never applied to the debt

  collector for credit, and did not “maintain an account” with the debt collector. Id. The court

  rejected the consumer’s arguments and ruled the debt collector’s credit report inquiry was

  for the “permissible purpose” to collect a debt under § 1681b(a)(3)(A). Id. at *4. The court

  further ruled it was immaterial that the consumer never applied to the debt collector for

  credit or that she does not maintain an account with the debt collector. Id. (“‘[I]t is not

  necessary for [the consumer] to have had direct dealings with [the debt collector]’ in order

  for [the debt collector] to lawfully obtain a consumer report”).

         Here, Plaintiff avers she does not have an “account” with Convergent and never

  “initiated a consumer credit transaction” with Convergent. Doc. 1 at ¶ 12. However, as in

  Little, it is immaterial whether Plaintiff opened an account with Convergent because it is

  not necessary for the consumer to have had “direct dealings” with the debt collector in

  order for it to “lawfully obtain a consumer report.” Little, 2013 WL 12080760, at *4; see

  also Hinkle, 2012 WL 681468, at *3 (“as the Court has repeatedly explained [] it is not

  necessary for [a consumer] to have had direct dealings with [a debt collector]”).




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           Accordingly, Plaintiff’s § 1681b(f) claim that Convergent lacked a permissible

  purpose to obtain a consumer report on her account must be dismissed for failure to state a

  claim.

                                     IV.     CONCLUSION

           Plaintiff has failed to state a claim under the FCRA. Accordingly, Plaintiff’s

  Complaint must be dismissed for failure to state a claim.

           WHEREFORE, Defendant, Convergent Outsourcing, Inc., requests the Court

  dismiss this action with prejudice and grant it any other relief the Court deems appropriate.

  Date: December 6, 2023                    Respectfully Submitted,

                                            /s/ Bradley J. St. Angelo
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                               CERTIFICATE OF SERVICE

         I certify that on December 6, 2023, a copy of the foregoing was filed electronically

  in the ECF system. Notice of this filing will be sent to plaintiff via email as follows:

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                                             /s/ Bradley J. St. Angelo
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